               Mountain Valley Pipeline, LLC

                               v.

              Easements to Construct, etc., et al.




         Exhibit 59 to Complaint
           Map of MVP Parcel No. NC-RO-038.000




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